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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                    Criminal No. 22-076(4) (KMM/TNL)

                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                          )
                                                ORDER OF DETENTION
            v.                            )
                                          )
JAVEYON DEMARIO TATE,                     )
                                          )
                  Defendant.              )


      This matter came before the Court on August 2, 2022, for an arraignment

pursuant to Rule 10 of the Rules of Criminal Procedure, and a hearing on the

Motion of the United States for Detention pursuant to 18 U.S.C. § 3142(f)(2).

      At the hearing, Mr. Tate was present and represented by Kenneth U.

Udoibok, Esq. The United States was represented by Thomas Calhoun-Lopez,

Assistant United States Attorney. The United States argued for detention

based on the Indictment and the pretrial services report.

           FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.    Because Mr. Tate has been charged with a crime of violence, there

is a rebuttable presumption that no condition or combination of conditions will

reasonably assure the appearance of Mr. Tate and the safety of the community.

Based on the record before the Court, the Court finds that this presumption

has not been rebutted.
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      2.      Mr. Tate is charged with violent crimes, including carjackings,

armed robberies, and conspiracy. His criminal history includes prior acts of

violence, as well as failures to appear.

      3.      Consequently, the Court concludes, pursuant to 18 U.S.C. §

3142(e), that detention is appropriate. The United States has met its burden

and has shown by a preponderance of the evidence that Mr. Tate is a flight

risk, and by clear and convincing evidence that Mr. Tate is a danger to the

community. There is no condition, or combination of conditions, that will

reasonably assure Mr. Tate’s appearance at court proceedings and the safety

of the community.

              For the foregoing reasons,

      IT IS HEREBY ORDERED that:

      1.      Pursuant to Rule 5.1(e) of the Federal Rules of Criminal

Procedure, Mr. Tate is required to appear for further proceedings;

      2.      Pursuant to 18 U.S.C. § 3142(e), the Motion of the United States

for Detention of Mr. Tate without bond is GRANTED;

      3.      Mr. Tate is committed to the custody of the United States Marshal

for confinement in a correctional facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending

appeal;

      4.      Mr. Tate shall be afforded reasonable opportunity to consult


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privately with his counsel; and

      5.    Upon order of the Court or request by the United States Attorney,

the person in charge of the correctional facility in which Mr. Tate is confined

shall deliver him to the United States Marshal for the purpose of appearance

in connection with all court proceedings.


Dated: August 12, 2022

                                            s/John F. Docherty
                                            Honorable John F. Docherty
                                            United States Magistrate Judge




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